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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

         -v-                                                Case No. 18-CR-581 (KMK)

SPYROS PANOS,                                                           ORDER

                              Defendant.


KENNETH M. KARAS, District Judge:

      For reasons to be stated on the record at the final pretrial conference, the Government's
Motion for the Admission of Evidence Under Rule 404(b), (see Dkt. No. 68), is GRANTED.

SO ORDERED.
Dated:         October 21, 2020
               White Plains, New York


                                                 KENNETH M. KARAS
                                                 UNITED STATES DISTRICT JUDGE
